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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 In re:                                                 Case No. 18-41452-705

 Andrew R. Whelchel,                                    Chapter 7

           Debtor.


 Carrington Mortgage Services, LLC, its
 assignees and/or successors in interest,               Hearing Date: June 5, 2018
                                                        Hearing Time: 9:30 a.m.
           Movant.                                      MTN #14

 v.                                                     ORDER TO LIFT STAY

 Andrew R. Whelchel;
 Tracy A. Brown, Trustee,

           Respondents.




          Movant, Carrington Mortgage Services, LLC, its assignees and/or successors in interest,
 having commenced a motion seeking the termination of the automatic stay with regard to certain

 real estate generally described as 313 Kronos Dr., De Soto, MO 63020-4661, and it appearing

 that Movant is entitled to the relief requested in the Motion, it is hereby:

          ORDERED that said Motion be and it is hereby GRANTED in that Movant is hereby

 authorized to foreclose its deed of trust pursuant to the terms of said Deed of Trust and

 applicable nonbankruptcy law, and to take all necessary action to obtain possession of property

 and for such purposes the stays of 11 U.S.C. §362 are hereby terminated.

          ORDERED that entry of this order shall be deemed to constitute relief from the Stay by

 the Chapter 7 Trustee.

          ORDERED that, in addition to foreclosure, this Relief Order permits activity necessary to

 obtain possession of said collateral; therefore, all communications sent by Movant in connection
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 with proceeding against the property including, but not limited to, notices required by state law and

 communications to offer and provide information with regard to a potential Forbearance

 Agreement, Loan Modification, Refinance Agreement, Loss Mitigation Agreement, or other Loan

 Workout, may be sent directly to Debtor.




   DATED: June 26, 2018                                         CHARLES E. RENDLEN, III
   St. Louis, Missouri 63102                                      U.S. Bankruptcy Judge
   mtc




 Order Prepared by:

 John P. Miller
 Retained Counsel

 Copies mailed to:

 Andrew R. Whelchel                                    United States Trustee
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 Apt 3                                                 111 South 10th Street, #6.353
 Imperial, MO 63052                                    St. Louis, MO 63102
 Debtor

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